                Case 4:22-cv-01797 Document 1-2 Filed on 06/02/22 in TXSD Page 1 of 3
                                        Harris County Docket Sheet


2022-20604
COURT: 333rd
FILED DATE: 4/5/2022
CASE TYPE: Other Injury or Damage

                                    KISSOONDATH, DANE
                                    Attorney: HENNESSY, EDWARD J.

                                                 vs.
                                  EMJ CONSTRUCTION LLC
                                  Attorney: APPLING, MARK MCKINNEY



                                         Docket Sheet Entries
             Date       Comment




2022-20604                                                                            Page 1 of 1

333                                                                           6/2/2022 9:08:13 AM
6/2/22, 9:07 AM   Case 4:22-cv-01797 Document
                                          Office 1-2     Filed
                                                 of Harris Countyon  06/02/22
                                                                  District           in TXSD
                                                                           Clerk - Marilyn Burgess Page 2 of 3


  HCDistrictclerk.com               KISSOONDATH, DANE vs. EMJ CONSTRUCTION LLC                                        6/2/2022
                                    Cause: 202220604 CDI: 7    Court: 333

  SUMMARY
   CASE DETAILS                                                   CURRENT PRESIDING JUDGE
   File Date                 4/5/2022                             Court              333rd
   Case (Cause) Location                                          Address            201 CAROLINE (Floor: 14)
   Case (Cause) Status       Active - Civil                                          HOUSTON, TX 77002
                                                                                     Phone:7133686470
   Case (Cause) Type         PERSONAL INJ (NON-AUTO)
                                                                  JudgeName          BRITTANYE MORRIS
   Next/Last Setting Date    N/A
                                                                  Court Type         Civil
   Jury Fee Paid Date        4/5/2022




https://www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=ewz3dZaFRTKqb2BC9rQ1GBs87eG9cPjhDTA8AaSNae9jKbPBnu3+cHy…   1/1
6/2/22, 9:07 AM   Case 4:22-cv-01797 Document
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                                                 of Harris Countyon  06/02/22
                                                                  District           in TXSD
                                                                           Clerk - Marilyn Burgess Page 3 of 3


  HCDistrictclerk.com                  KISSOONDATH, DANE vs. EMJ CONSTRUCTION LLC                                      6/2/2022
                                       Cause: 202220604 CDI: 7    Court: 333

  DOCUMENTS
  Number            Document                                                                        Post Date            Pgs
                                                                                                    Jdgm
  102190521         Defendant EMJ Construction, LLC's Original Answer                                     05/27/2022     7
  102190613         Rule 216 Request for Jury Trial                                                       05/27/2022     3
  101859227         Affidavit of Service-EMJ CONSTRUCTION LLC                                             05/10/2022     4
  101327136         eIssue: Citation                                                                      04/08/2022     2

  101312376         Letter to Clerk                                                                       04/07/2022     2
  101260491         PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND                                         04/05/2022     7
   ·> 101260492     Exhibit 01                                                                            04/05/2022     1
   ·> 101260493     Exhibit 02                                                                            04/05/2022     1




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